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                       UNITED STATES DISTRICT
                    FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA           )
                                   )
                                   )
v.                                 )       Case No. 22-cr-00015-APM
                                   )
STEWART RHODES, et. al.,           )
                                   )
                                   )
                 Defendants        )
                                   )



DEFENDANT ROBERTO MINUTA’S MOTION FOR A NEW TRIAL PURSUANT
                TO FED.R.CRIM.PROC. Rule 33


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      NOW COMES Defendant Roberto Minuta by and through his counsel of

record, William L. Shipley, Esp., and moves this Honorable Court for a new

trial pursuant Federal Rules of Criminal Procedure 33.

                              I.     INTRODUCTION

      Defendant Roberto Minuta was convicted at the end of a fundamentally

unfair prosecutorial endeavor by the United States Department of Justice,

aided by procedural decisioning that placed him in a forum and trial where the

obligations of the Government to prove his individualized guilt beyond a

reasonable doubt were largely set aside.

      The miscarriage of justice in this case began with the Government’s

tactical decision to charge Minuta with only felony offenses, notwithstanding

the fact that he was certainly guilty beyond a reasonable doubt of being on

restricted ground, and for having entered the Capitol building when it was

closed to the public. The Government elected to not charge Minuta with those

crimes – as it has charged hundreds of other January 6 protesters – because it

sought to deny the jury the opportunity to convict Minuta only on those

misdemeanors while acquitting him on the felonies. The purpose of this gambit

was to give the jury only two stark options – convict Minuta of felonies on

highly dubious legal and factual grounds, or acquit Minuta on all counts and

convey the unacceptable public message that he had done nothing wrong on

January 6.

      The Government’s tactical charging decision was then compounded by

the Court’s determination to 1) not grant a requested change of venue, and 2)

dividing defendants into two groups for trial because of logistical issues. The



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fact that the District Court for the District of Columbia lacks a courtroom large

enough for a joint trial of all defendants created an artificial joinder of some

defendants and severance of other defendants in a way that worked a

fundamental miscarriage of justice in the presentation of evidence in the two

trials.

          Minuta was joined for trial with three individuals he had never met prior

to January 6, and with whom he never interacted on January 6. Yet, the

presentation of the evidence forced Minuta to be subject to the jury’s

consideration of 1) firearms training of some members of the Florida chapter

that predated the conspiracy; 2) hundreds of messages displayed from Florida-

only Signal chats; 3) the bombastic, incendiary and prejudicial messaging of

Kelly Meggs, the leader of the Florida chapter to other members of the Florida

chapter; and the bombastic, incendiary, and prejudicial messaging and

publicly broadcast commentary of Edward Vallejo – much of which would have

been excludable under Rule 403 had they not been joined for trial.

          In addition, the Government played video of the alleged QRF at the

Comfort Inn hotel when there was no evidence that Minuta knew of the

presence of any firearms in the vicinity of D.C. on or about January 6.

          Minuta did not know his three co-defendants at trial. He had no contact

with any of them until all were out of the Capitol, and the only “contact” at that

point was when the entire group of 25 or so members met in one location

before departing separately.

          He expressed no support for their views as expressed by them over the

period of the alleged conspiracy. He did not participate in any of the running



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“commentary” on Signal or elsewhere with any of them. Yet was made to sit

beside them during 5 weeks of trial while the jury heard this evidence, and

then had to rely upon the legal fiction that jurors would be able to

“compartmentalize” the evidence they heard and render verdicts with

particularity based only on the evidence as it applied to each defendant

individually.

      The “fiction” in that legal fiction is revealed in the jury’s verdicts against

Mr. Minuta.

      The root cause of the problem was the inability of the District Court’s

infrastructure in this District – not the Honorable Trial Judge – to provide a

physical forum where the evidence could be presented and considered in a

manner that did not introduce fundamental unfairness into the trial. Chief

among the problems created was the fact that the jury in the first trial observed

and heard testimony from both Stewart Rhodes and Thomas Caldwell, giving

them an opportunity to consider the context of evidence presented by the

Government that was not afforded to the jury for Minuta and the co-defendants

joined with him in the second trial.

      It certainly cannot escape the notice of this Court that Rhodes’ testimony

revealed the “carnival barker” nature of his rhetoric and the financial

motivation he possessed to “feed” the membership with his apocalyptic

nonsense in order to attract new recruits and sell more Oath Keeper

merchandise.

      From Mr. Caldwell’s testimony the first jury was able to understand the

fundamental “unseriousness” of Mr. Caldwell’s bombast and the “Walter Mitty-



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esque” nature of his personality. Nothing evidences the importance of that

evidence more than the fact that the jury in the first trial acquitted Caldwell of

the conspiracy charges against him notwithstanding the mountain of

inflammatory messages sent by him and his bombastic rhetoric captured on

audio on January 6.

                     RELEVANT PROCEDURAL BACKGROUND

      On January 23, 2023, Defendant Minuta was found guilty by a jury

of Count One (Seditious Conspiracy), Count Two (Conspiracy to Obstruct an

Official Proceeding), Count Three (Obstruction of an Official Proceeding), and

Count Four (Conspiracy to Prevent Members of Congress from Discharging

Their Duties). See EFC No.450.

      On February 3, 2023, Defendant Minuta filed a proforma motion for an

acquittal pursuant to Fed. R. Crim Proc. 29 or, in the alternative a motion for a

new trial pursuant to Fed. R. Crim Proc. 33. See EFC No. 469. Such motion

was filed with 14 days as required by each rule, and detailed Defendant

Minuta’s plan to further brief the matter within the time frame set by this

Court.




                             II.    LEGAL STANDARD

      Federal Rule of Criminal Procedure 33 provides that “[u]pon the

defendant's motion, the court may vacate any judgment and grant a new trial if

the interest of justice so requires.” Fed. R. Crim. P. 33(a). “Interest of justice”

has been interpreted in the D.C. Cricuit to mean that “granting a new trial


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motion is warranted only in those limited circumstances where ‘a serious

miscarriage of justice may have occurred.’” United States v. Thompson, 275 F.

Supp. 3d 107, 111 (D.D.C. 2017). Whether to grant a new trial is “committed to

the sound discretion of the trial judge...” United States v. Reese, 561 F.2d 894,

902 (D.C.Cir.1977).

      Under Rule 33, a district court is authorized to scrutinize and set aside a

jury verdict much broader than the Rule 29 power to grant a motion for

judgment of acquittal. United States v. Kellington, 217 F.3d 1084, 1097 (9th

Cir. 2000). While the burden of demonstrating that a new trial would be “in the

interest of justice” rests with the defendant (United States v. Mangieri, 694

F.2d 1270, 1285 (D.C.Cir.1982)), unlike under Rule 29, when deciding a Rule

33 motion the Court is not “obliged to view the evidence in the light most

favorable to the verdict, and it may weigh the evidence and evaluate for itself

the credibility of the witness[s].” Kellington, at 1097. A motion under Rule 33

involves a determination by the trial court as to whether the state of the

evidence is only ‘marginally sufficient’ such that it ‘calls for a new trial in the

interest of justice.” United States v. Young, 2013 U.S. Dist. LEXIS 204453, *12

(D.D.C. 2013) (quoting United States v. Wiley, 517 F.2d 1212, 1217, n.24, 170

U.S. App. D.C. 382 (D.C. Cir. 1975). Thus, “by contrast to the evaluation of the

evidence required under Rule 29 [for a motion for a judgment of acquittal], the

court’s discretion whether to grant a motion for a new trial . . . is “much

broader,” since the court need not accept the evidence in the light most

favorable to the government, and may weigh the testimony and consider the

credibility of the witnesses.” Young, 2013 U.S. Dist. LEXIS at *12- 13.



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            III.   LEGAL ARGUMENT AND THE EVIDENCE AT TRIAL

      Specifically as to Roberto Minuta, the Government introduced the

evidence of the following types:

   1. Messaging to/from/about Minuta from the various sources about which

      the Court is well versed.

   2. Telephone records showing call data, but not content or speakers.

   3. Relative movements of various parties over the relevant period(s) of time.

   4. Limited evidence of the historical relationship between Minuta and

      Rhodes.

   5. Minuta’s own comments at various points in time from his self-recorded

      videos posted to Facebook on or after November 8, 2020, through videos

      of his conduct/comments on January 6, 2021.

   Beyond that particular evidence, the Government introduced a significant

quantum of evidence from and/or about “co-conspirators” without a

particularized effort to establish when Minuta was alleged to have joined the

specific conspiracies set forth in the indictment. These various issues are

dealt with individually below.

      A.     There Was No Evidence of “Knowledge” in the Government’s Case

      The Government’s case was built on the predicate that Minuta knowingly

joined the conspiratorial agreements formed by others to use force to prevent

the transition of power on January 6, 2021, as well as to obstruct Congress’

certification of the electoral vote, and to interfere with Officers – members of

Congress – in the performance of their official duties. See EFC. No. 167.

Superseding Indictment at 3.



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      But the evidence presented by the Government relied upon speculation

and conjecture to find “knowledge” by Minuta specifically with regard to the

alleged conspiratorial purposes. But the Government’s case lacked any

evidence from which even an inference of knowledge could be argued with

respect to Minuta.

      Government witnesses admitted that Minuta was added as a participant

in only one of the Signal chats that were relied upon by the Government – the

“DC OP Jan 6 21” chat (hereinafter “DC OP chat”). The Government

acknowledged that because it did not have Minuta’s phone, it could not

determine whether he read actually read any messages in that chat. The only

method by which the Government could offer evidence that he read messages

was if he had responded to messages in the DC OP chat.

      There are no Signal messages to or from Minuta in the DC OP chat so

there was no evidence in the record from which an inference could be drawn

that he knew of any of the messages sent by others in the DC OP chat.

      Without Minuta’s phone, or responses by him to messages from others, it

is pure speculation rather than inference he had any knowledge of the content

of the communications being sent and received by other alleged co-conspirators

about the criminal objective of the alleged conspiracies.

      Second, there was no testimony from any witness who was in

communication with Minuta about statements made to or by Minuta from

which any inference could have been drawn about Minuta’s knowledge of the

alleged conspiracies. The only live witness who testified about personal

interactions with Minuta during the course of the alleged conspiracies was



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Brian Ulrich. Ulrich offered no testimony about comments made by or to

Minuta. But Ulrich did offer testimony which was exculpatory to the extent

that he testified there was no discussion among the second group as to why

they were going from the Mayflower Hotel to the Capitol sometime around 2:00

p.m.

       Third, there was no evidence from which any inference could be drawn

from the cellular telephone call data put into evidence. It is pure speculation to

claim knowledge of the content of a phone call merely by virtue of its timing.

The Government suggested in its questioning that it could draw conclusions

from the fact that there were calls exchanged between Minuta’s cell phone

number and Rhodes cell phone number just minutes before 1:00 p.m. on

January 6, and just minutes after 1:00 p.m. To encourage juror speculation

the next question asked by the prosecutor of Agent Abrams – paraphrasing –

“And what was happening at 1:00 pm on January 6?” with her obvious answer

being the start of the Congressional certification proceeding. But she admitted

she couldn’t even say who was on the call much less what the actual content of

the call involved. “Inferences” drawn as to either is pure speculation.

       Fourth, the physical movement of Minuta relative to others during the

course of the day on January 6 is not in dispute. He arrived from New Jersey

late in the evening on January 5. Notwithstanding the fact that he had

reserved three rooms at the Mayflower hotel – all of which were taken by

members of the “Southeast” contingent earlier in the day on the 5th – Minuta

ended up staying at the Hilton in Vienna, Virginia. According to Ulrich he met

with the second group early in the morning on the January 6 along with Josh



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James, and spent the entire morning with that group prior to returning to the

Mayflower Hotel with them. He then traveled from the Mayflower Hotel to the

Capitol beginning sometime after 2:00, arriving at 2:45. The balance of his

movements are largely captured on video at various points in time.

        Nothing in these movements – distinct from his words or acts at

particular points in time which are dealt with below -- infers “knowledge” of a

conspiratorial objectives based on the movements of others. There was no

evidence that the second group even knew of the presence of the first group or

their actions/movements at any time on January 6. The second group was not

with them during the rally at the Ellipse. The second group did not join them –

or even the crowd – in marching to the Capitol after the rally. The second

group was not present when the first group entered the Capitol. There was no

evidence that the second group was ever aware that another group of Oath

Keepers had entered the Capitol until after all were outside and gathered

together.

        Fifth, nothing in Minuta’s own words or actions evidence knowledge of

the alleged conspiratorial objectives. Without question Minuta expressed his

opinions at various points in time about the electoral process and the state of

politics in the country. In evidence were his self-recorded videos following the

election and posted to Facebook, and the audio of his comments at various

points in time beginning around 2:30 pm as reflected in Government Exhibit

1508.

        The videos posted on Facebook in the aftermath of the November 3

election are dealt with separately below.



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      As for the video and audio recorded on January 6, there were three

components – comments while riding in the golf cards; comments made

between leaving the golf carts and walking up the stairs to the Columbus

Doors; and comments made once inside the Capitol.

      Golf Cart Ride:

      FBI Agent Abrams acknowledged that much of Minuta’s commentary

while riding in the golf cart was about things that had not actually happened,

or things he had not actually seen at the time of his comments, i.e., he was

simply repeating what he had learned from others. The transcription attached

to the Government summary exhibit reads as follows, picking up with the first

Minuta commentary:

            “Headed to the Capitol building, patriost storm the Capitol
      Buidling. There’s violence agaist patriots by the DC police so we’re en
      route in a grand theft auto golf cart to the Capitol Building right now.”

            “What’s up guys. In DC, patriots are attempting to storm the
      Capitol building right now. We’re headed there in a golf cart. Be there in
      about 30 seconds or so. Stand by.”

             “James: Hey, pull the Capitol up o n your phone. That way if we
      can try to cross cut, I can’t see, we’ve taken so many back roads, can you
      pull it up on your GPS?
             Minuta: Yeah
             James: I know, it’s fine.
             MInuta: It’s going down guys. It’s literally going down right now.
      Patriots storm the Capitol building.”

      As acknowledged by Government witnesses, in none of those first three

audio segments was Minuta in sight of the Capitol building. He could not

actually see anyone “storming the Capitol.” Ulrich testified that while they

were in the hotel room, they watched some of the live feed on television of the




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events unfolding at the Capitol, including scenes of violence between police and

protesters. The Summary Exhibit continued:

      “Minuta: Fucking war in the streets right now. Oh my god. Oh my god.
      James: Don’t you fucking do it.
      Minuta: Oh. Here we are. Capitol baby. It’s going down. Parking?
      James: Yeah.
      Minuta: I’m just gonna stick this in my pocket and livestream, alright?”

      As Special Agent Abrams testified, there was no “war in the streets”

where Minuta was – or anywhere else in D.C – and he still wasn’t insight of the

Capitol building to see what was actually taking place. It’s just hyperbolic

commentary about non-events and things he can’t even see.

       “James: Okay, we need to go, where the fuck are we going? Hey we’re at
3rd, we gotta remember our location, we’re at 3rd and what?
       Unknown: They said they got in.
       Minuta: They said, word is that they got in the building. Let’s go.”
       The suggestion by the Government – or the urging of the inference that

“they” was a reference to the first group of Oath Keepers -- is betrayed by the

fact that it’s a stranger who first gives that information to Minuta, and Minuta

immediately repeats it into his livestreaming video. It’s nothing more than

crowd-sourced information.

      If “they” is only a generic reference to protesters, then it is not evidence of

any knowledge by Minuta of what was happening with first group in this time

frame – which the Government places around 2:35, just prior to the first group

entering through the Columbus Doors.

      “Unknown: Good job guys.
      Unknown: Go fight some congressmen.
      Minuta: Thank you.”

      In context and in sequence it is unreasonable to draw the conclusion

that Minuta was responding “Thank you” to the comment “Go fight some



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congressman.” The audio is unclear whether the “Unknown” is two different

speakers or only one. In context, “Good job” – whatever the speaker’s reference

might have been – is politely responded to with a “Thank you” regardless of

whether Minuta understands the speaker’s reference.

      To respond “Thank you” to an unsolicited comment “Go fight some

congressman” is inapposite.

      Minuta’s Comments Outside the Capitol.

      After abandoning the golf carts and walking to the east side of the

Capitol, Minuta was captured on video and audio while he berated Officers

maintaining a perimeter on the east side.

            “James: Right now we’re we’re on an elevated position, so we can
      kinda see a little bit of everthing…

             Minuta: Here, I’ll just show you the front lines of America where
      everybody’s been bought and paid for and wanna keep their jobs, don’t
      give a fuck about the people that they swore an oath to, and they stand
      here and they know their government is completely criminal, completely
      corrupt, and they fuck us over when they wanna keep their fucking
      paycheck when the won’t even have a country. They won’t even be able to
      feed their families pretty soon. Will not even be able to feed your
      families. It’s not a joke. It’s not a joke.”


      Setting aside for a moment the question of Minuta’s pausing to engage in

this diatribe outside the Capitol while – according to the Government -- being

en route to assist the first group in their efforts inside the Capitol and how that

is consistent with the Government’s theory, the more significant issue is to

whom is this diatribe aimed? If it is not aimed at the Congress – and the

language makes clear that the target of his outburst is the Officers -- how is it

evidence of knowledge of conspiratorial agreements to interfere with the




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transfer of power, execution of any law, an official proceeding, or members of

Congress engaged in their official duties?

      He did nothing other than yell mean words. Mean words directed at the

police officers standing outside. The audience and target of the diatribe are the

police officers, not members of Congress inside the Capitol. These officers are

maintaining a static perimeter near the northeast corner of the Capitol

building. There is no physical violence or confrontation between these officers

and any members of the crowd, including the Oath Keepers shown in the video.

      Not only was there no violence seen or engaged in by the second group

outside the Capitol, the CCTV video showing the second group’s entrance into

the Capitol through the Columbus Doors shows not only did they NOT push

past the Officers at the door, they were actually “nodded” in through the doors

by the Officer in the bicycle helmet standing less than five feet from Officers

Carrion and Salke, and directly facing them. Minuta, James and Walden

walked BETWEEN the two sets of officers as they entered without any effort

being made to obstruct their way. In fact, Officer Carrion testified that he was

“scanning” the room looking for possible weapons, and in the video you can see

him putting his hand on Minuta’s chest causing Minuta to show him his

iPhone, at which point Officer Carrion takes his hand off Minuta and allows

him to pass into the Capitol.

      Up to this point in time – approximately 3:15 pm -- there no evidence

from which a reasonable inference could be drawn that Minuta had knowledge

of any of the three alleged conspiratorial agreements as charged in the

indictment.



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      The next significant event in the time sequence is Josh James’ violent

outburst directed at Officer Mendoza. This came after a short period of time

during which James was engaging in conversation with Officers Mendoza and

Jackson as testified to by Officer Jackson, including James asking both officers

if they wanted to get out. The video clearly shows that James ONLY because

agitated and aggressive after Officer Mendoza used his left hand to strike

James on the left side of his face. Whether Officer Mendoza was justified is not

the issue. The simple fact is that James’ reaction was spontaneous and came

only in response to Officer Mendoza’s hand making contact with James’ face.

      What is not in dispute is that at the moment this happened, Minuta was

separated from James by approximately 10 feet and a few protesters in

between them. Minuta was standing behind James near the doorway entrance

to the Rotunda, holding his hand up to record events on his cellphone. The

incident involving James and Officer Mendoza set off a serious of scuffles

across the line between protesters and Officers, causing protesters behind

James to push forward into the police line. Several videos show Minuta being

pushed forward at this point by the crowd behind him —including the only

video exhibit introduced by Minuta – the CCTV camera view looking inside from

above the Columbus Doors in the direction of the Rotunda Doors. Minuta kept

his iPhone in his right hand trying to capture events – he’s certainly not

“pushing” anyone with that hand. For only a moment he put his left hand on

the shield being wielded by an unknown person who had taken it away from an

officer standing next to Officer Mendoza by the side of the doorway. Minuta’s




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left hand is not on the handle of the shield and he is not pushing on the shield

in the moment that video shows him touching the shield.

      Video evidence showed that as soon as Minuta was able to extricate

himself from the position in the crowd he did so and he headed for the

Columbus doors and exited the Capitol building.

      Nothing about that sequence of events could reasonably “infer”

knowledge by Minuta of the three conspiratorial objectives as alleged. He was

an observer of what James did – not a participant in it. He was momentarily

caught between the press of the two sides and exited as soon as he was able.

      The FACTS are that he was “merely present” when James was drawn into

an encounter with the police, over-reacted to the actions of Officer Mendoza,

lost his temper and engaged in violence directed at the Metropolitan Police

Officers in front of him.

      Mr. Minuta did none of those things. Even while still in the building, afte

his diatribe outside, he didn’t make contact with any Officer and worked to exit

the building as fast as he could when able to do so.

      B.     Lack of Evidence of Knowledge of that “Force” was to be Used.

      Count One charging seditious conspiracy has as part of its conspiratorial

objective the requirement that the conspirators knew of and agreed that “force”

would be used as part of the achieving the object of the conspiratorial

agreement.

      There was no evidence introduced from any witness that Minuta had any

knowledge of or involvement with the armed “QRF” – whatever the purpose of

that unit might have been.



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      Unlike other alleged co-conspirators, there was no evidence of Minuta

bringing a firearm to Washington D.C. or suburban Virginia (hereinafter

“DC/VA”) with regard to January 6 or any other time. There was no evidence

he discussed bringing firearms or that others might bring firearms to DC/VA.

      As noted above, because there was no evidence that he read any of the

“DC OP chat” messages, there was no basis to infer his knowledge regarding

“use of force” from the exchange of messages by others about the QRF with

firearms in Virginia.

      The jury was instructed that in order to find a defendant guilty of

conspiracy as to Count One, they need to find:


      “the defendant conspired or agreed with at least one other person with
      the goal of opposing by force the authority of the Government of the
      United States, or preventing, hindering, or delaying the execution of any
      law of the United States by force.

      The Government’s theory to satisfy the “by force” aspect of the

conspiratorial agreement hinged on the claim that the Oath Keeper groups had

a prepositioned an armed QRF in suburban Virginia, and that at least one

function of the QRF was to be able to project force into the District of Columbia

if that was necessary and the opportunity presented itself.

      In order for a conviction of Minuta to stand, it was necessary for the

Government to prove that Minuta had actual knowledge of each of the aspects

of the conspiracy, and central to the “seditious conspiracy” is the planned use

of force as part of the agreement.

      There was no evidence that Minuta had any actual knowledge of anyone

bringing firearms to DC/VA. He arrived late at night of January 5 and



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departed on the afternoon of January 6. The Government established the

timing and route of his travel with records showing his flight from Dallas-Ft.

Worth Airport to Newark Airport on the afternoon of January 5, and placing

him at various locations while driving from New Jersey to D.C. that same night.

He stayed at the Hilton Garden Inn in Vienna, Virginia but there was no

evidence offered about what – if anything – took place there.

      The only witness called by the Government who interacted with Minuta

at any time during the entirety of the alleged conspiracies was Ulrich. Ulrich

first met Minuta on the morning of January 6, and said Minuta was not with

the second group during the afternoon and evening of January 5. Ulrich

offered no testimony about discussions with Minuta regarding the events of

January 6. He expressly testified that there was no discussion in the second

group about why they were going from the Mayflower Hotel to the Capitol after

2:00 p.m. on January 6.

      No other Government witness testified about speaking to Minuta – or

even knowing him -- at any point during the period of the alleged conspiracies.

      No witness testimony, no messaging with others, and no evidence at the

substance of any telephone communications leaves the Government with no

evidentiary basis from which the jury could infer “knowledge” about the critical

aspects of the “seditious conspiracy” charge, i.e., that Minuta knew of and

agreed to the planned use of “force” to accomplish the conspiratorial objectives

of Count One.

      C.    No Evidence of Knowledge by Minuta that the Congressional
            Certification Proceeding was Ongoing or Suspended.




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      Defendant Minuta was convicted of both conspiring to obstruct with the

Congressional certification of the Electoral College vote (Count Two) and

actually obstructing that certification (Count Three).

      The Government’s case included no evidence – direct or indirect – that

Minuta knew the Congressional certification proceeding was still underway

when he approached and entered the Capitol building at approximately 3:14

p.m. on January 6 – more than two hours after the proceeding was schooled to

begin, and almost one hour after the proceeding had been abandoned due to

protesters having entered the Capitol.

      The jury was instructed that in order to convict a defendant on the

conspiracy to obstruct the Congressional proceeding they had to find beyond a

reasonable doubt that:

      [T]he defendant conspired or agreed with at least one other person with
      the goal of committing the crime of obstructing an official proceeding.

      As with the “by force” aspect of Count One, the Government presented no

evidence that Minuta had knowledge of the Congressional certification

proceeding taking place on January 6, or that he was in D.C. on January 6 for

any reason connected to the scheduled proceedings at the Capitol – as opposed

to the rally at the Ellipse, which was a separate event. Minuta was not

involved in Signal/text message exchanges with other Oath Keeper members,

he had no social media presence describing his plans for attending anything

happening, he had no contact with Kelly Meggs or Steward Rhodes in advance

of January 6 from which knowledge of their alleged plans in that regard might

have been made known to him. The only witness who testified to such a plan




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was cooperating defendant Caleb Berry – attributing to Kelly Meggs the

announcement of a plan to interfere with the vote certification.

      The Government presented no evidence that Minuta knew of Meggs’ plan

at any time on or before January 6. Ulrich’s testified that there was no

discussion about why the second group was going to the Capitol on after 2:00

p.m., other than co-conspirator Grods telling him they were going to “meet

other Oath Keepers.”

      At the time the second group reached the east side of the Capitol and

approached the steps to the Columbus Doors there was no violence taking

place between the protesters and officers. The Columbus Doors were open and

people were entering and exiting the building.

      The second group followed a line of approximately 8 U.S. Capitol Police

Officer up the steps to the plaza area outside the doors where both remained

for approximately 3 minutes. At 3:14, three members of the second group –

James, Minuta and Walden – walking through the Columbus Doors and into

the building directly behind the group of officers they had followed up the

stairs. There was no violence between protesters and Officers on either side of

the door. Immediately after the three entered, there was a push from

protesters behind them to enter the building, causing Officer Carrion to put his

hand on Walden’s back and pull him and his dog into the building and out of

the way.

      That push through the police at the door did NOT involve any Oath

Keeper members – they were already inside when it occurred as is shown

clearly on the Exh. 1508 introduced by the Government.



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      As for the substantive violation of Sec. 1512(c)(2) there was no evidence

presented at trial that when Minuta entered the Captiol building at 3:14 p.m.,

as established by CCTV video, that he knew there was a proceeding taking

place, or that the earlier proceedings had been suspended/delayed while

protesters were inside the Capitol.

      The undisputed record is that the Congressional certification proceeding

began at 1:00 p.m., and was suspended at approximately 2:20 due to the

security risk posed by unauthorized persons having entered the Capitol.

      The jury was instructed on the alleged substantive violation of Sec.

1512(c) as follows:

            Second, the defendant intended to obstruct or impede the official
            proceeding.

            Third, the defendant acted knowingly, with awareness that the
            natural and probable effect of the defendant’s conduct would be to
            obstruct or impede the official proceeding.

       There was no evidence presented that Minuta knew the Congressional

certification proceeding was ongoing/suspended as of 3:14 p.m. on January 6.

If the proceeding had been concluded, ipso facto there would have been no

“proceeding” to obstruct.

      The only commentary on the election by Minuta that was offered by the

Government were the self-recorded videos that he posted on Facebook, which

he recorded on November 8 and 9, 2020. When viewed in full, those videos

conclusively show that Minuta was not a supporter of either major party

candidate following the election. There was no evidence offered by the

Government that Minuta favored former President Trump over President Biden




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with regard to the “objection/certification” process under the Electoral Vote

Act. There was no evidence offered by the Government that Minuta intended to

interfere in the proceeding for the purpose of keeping President Trump in office

beyond January 20, 2021 – the very foundation of the Government’s

underlying theory supporting its entire investigation/prosecution of Oath

Keeper members.

      The same “lack of knowledge” problem infects the conviction on Count

Four, conspiracy to prevent members of Congress from discharging their

official duties. There is no evidence of actual knowledge by Minuta that others

had entered into agreement to accomplish that conspiratorial objective. For all

the same reasons as stated above with regard to the evidence presented, there

was no basis from that evidence to draw a reasonable inference that Minuta

had such knowledge based on the words or actions of other about which he

was aware.

      D.     Minuta’s Facebook Videos Were Not Evidence of His Knowledge or
             Intent to Join the Alleged Conspiracies

      The Government introduced two videos recorded by Minuta and posted

by him to Facebook posted on or after November 8, 2020. In those videos he

engaged in an extended voluble and profane commentary about his views on

the election process and the state of political affairs in the country.

      There was NO evidence linking Minuta’s comments in the videos to any

conspiratorial activities or planning by Stewart Rhodes or other Oath Keeper

members following the November 3 election and the controversy in the

following days/weeks.




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      Rhodes and other Oath Keepers participated in the national

“GoToMeeting” conference call on the evening of November 9. Minuta was not

on that call.

      There was no evidence of contact between Minuta and Rhodes – or any

other Oath Keeper – between November 3 and November 9, 2020. There is

nothing – other than the timing – that links the episodes and content of the two

respective recordings to each other.

      The coincidental timing – and it is merely coincidental without evidence

suggesting otherwise -- is not evidence of Minuta’s knowledge or intention

regarding Rhodes’ plans if he was unaware of the discussions/plans of Rhodes

and others in the same time frame.

      The use by the government of these videos to show “state of mind” is

particularly pernicious and a miscarriage of justice given their fundamental

protection under the First Amendment as political speech and advocacy. His

Facebook videos were seen by friends and family. He is expressing purely

political views regarding his view of the election and faith in government

officials. He had no obligation to withhold those views, and he cannot be

punished through this prosecution by the Government for having expressed

those views when there was no basis in the evidence that at the time they had

any relationship to the alleged conspiratorial planning by others.

      Presented as they were -- untethered to any alleged conspiracy that he

was aware of or intended to involve himself in -- was a violation of his right to

possess and express his political views in whatever colorful or vulgar language

he chose to do so.



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            E.     Admission of Summary Exhibits 1500 and 1508.

      Rule 1006 of the Federal Rules of Evidence provides, in relevant part,

that a “proponent may use a summary, chart, or calculation to prove the

contents of voluminous writings, recordings, or photographs that cannot be

conveniently examined in court.” Summaries of voluminous records are only

admissible pursuant to this rule if they are “accurate and nonprejudicial.” See

United States v. Lemire, 720 F.2d 1327, 1348 (D.C. Cir. 1983). There are strict

limits on the role of summary witnesses and documents. The trial must ensure

that the witness or document does not “usurp the jury’s fact- finding function

by summarizing or describing not only what is in evidence but also what

inferences should be drawn from that evidence.” United States v. Cooper, 949

F.3d 744, 750 (D.C. 2020). “Another danger to be guarded against is that the

jury will treat summary testimony as ‘additional evidence or as corroborative of

the truth,’ rather than just a compilation of existing evidence.’” Id. at 750

(quoting Lemire, 720 F.2d at 1348). For a summary of documents to be

admissible, “the documents must be so voluminous as to make comprehension

by the jury difficult and inconvenient; the documents themselves must be

admissible; the documents must be made reasonably available for inspection

and copying; the summary must be accurate and nonprejudicial; and the

witness who prepared the summary should introduce it.” United States v.

Fahnbulleh, 752 F.3d 470 (D.C.Cir. 2014) (citing United States v. Hemphill,

514 F.3d 1350, 1358 (D.C. Cir. 2008)).



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      Davis & Cox v. Summa Corp., 751 F.2d 1507, 1516 (9th Cir. 1985) (no

error to exclude summary when it does not “fairly represent the underlying

documents”).

      “If a summary, chart, or calculation is offered merely for illustrative or

pedagogical purposes to organize or aid the presentation of a party’s case, FRE

1006 is inapplicable.” Christopher B. Mueller and Laird C. Kirkpatrick,

Evidence 1103 (3d Ed. 2003). See also White Indus., Inc. v. Cessna Aircraft

Co., 611 F. Supp. 1049, 1069 (W.D. Mo. 1985) (recognizing “distinction

between a Rule 1006 summary and so-called ‘pedagogical’ summary,” with

former being admitted as “substantive evidence” while latter “is simply a

demonstrative aid which undertakes to summarize or organize other evidence

already admitted”). The same goes for Signal messages and statements or

writings from other sources; which the government had compiled into an excel

spreadsheet with no additional commentary, markings, or other argumentative

elements.

                                     CONCLUSION

      Based on the foregoing, and pursuant to Federal Rule of Criminal

Procedure 33, Roberto Minuta moves this Court to vacate the jury’s verdicts of

guilty, and to order a new trial on Counts One, Two, Three and Four of the

indictment.




Dated: March 3, 2023                  Respectfully submitted,



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